 Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 1 of 25 PageID #:2200




                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

JAMES GIBSON,                                )
                                             )
                              Plaintiff,     )
                                             )
       vs.                                   )       Case No. 19-cv-04152
                                             )
CITY OF CHICAGO, et al.,                     )       Honorable Sara L. Ellis
                                             )
                              Defendants.    )

                       DECLARATION OF ANDREW M. STROTH

       I, Andrew M. Stroth, declare under penalty of perjury of the laws of the United States:

       1.      I am competent to testify and have personal knowledge about what is written in this

declaration.

       2.      I am counsel for James Gibson, the Plaintiff in the above-captioned matter.

       3.      On September 28, 2020, Mr. Gibson propounded written discovery requests to the

Defendants. The Defendants have responded to those requests. More than a week ago, the parties

exchanged their initial production of documents.

       4.      Attached to my declaration as Exhibit A is a true and correct copy of Plaintiff’s

Requests for Admission that Mr. Gibson propounded on the Defendants, including the City of

Chicago, on September 28, 2020.

       5.      Attached to my declaration as Exhibit B is a true and correct copy of the City of

Chicago’s October 27, 2020 response to Plaintiff’s Requests for Admission. In the City’s response,

it “Denied” without any qualification the request to admit that “Between 1973 and 2006, officers

under Jon Burge’s Command at Areas 2 and 3 subjected many suspects, particularly African

Americans, to mental, physical, and psychological torture.” In response to the same Request for




                                                 1
 Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 2 of 25 PageID #:2201




Admission No. 1, Defendants John Byrne, Anthony Maslanka, and John Paladino all declined to

answer the request by invoking their Fifth Amendment rights.

       6.       On December 9, 2020, I wrote to counsel for the City of Chicago to raise the

concern that the City’s categorical and unqualified denial of Request for Admission No. 1 does not

comply with Rule 36’s requirement that “when good faith requires that a party qualify an answer

or deny only a part of a matter, the answer must specify the part admitted and qualify or deny the

rest,” Fed. R. Civ. P. 36(a)(4), given that the City has previously conceded the facts contained in

that request. See Letter from Andrew M. Stroth to Paul A. Michalik (December 9, 2020), attached

as Exhibit C.

       7.       On January 7, 2021, counsel for James Gibson and the City of Chicago held a meet-

and-confer teleconference to discuss the issues that I had raised in my December 9, 2020 letter

about the City’s response to Request for Admission No. 1. During that meeting, the City’s counsel

stated that the City refuses to modify or qualify in any way its response to Request for Admission

No. 1, and that the City believes such an unqualified denial is proper under Rule 36. The City’s

counsel refused to identify whether or not there are any facts contained within Request for

Admission No. 1 that are true.

       8.       I am aware of numerous cases that involved allegations of torture and/or abuse by

Jon Burge and/or the officers under his command in Areas 2 or 3, including the following:

            •   Caine v. City of Chicago et al., No. 1:11-cv-08996 (N.D. Ill.)

            •   Kitchen v. Burge, No. 1:10-cv-04093 (N.D. Ill.)

            •   Reeves et al v. Burge, No. 1:10-cv-01989 (N.D. Ill.)

            •   Smith v. Burge et al., No. 1:16-cv-03404 (N.D. Ill.)

            •   Kluppelberg v. Burge, No. 1:13-cv -03963 (N.D. Ill.)



                                                    2
 Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 3 of 25 PageID #:2202




            •   Tillman v. Burge, No. 1:10-cv-04551 (N.D. Ill.)

            •   Patterson v. Burge, No. 1:03-cv-04433 (N.D. Ill.)

            •   Hobley v. Burge, et al., No. 1:03-cv-3678 (N.D. Ill.)

            •   Orange v. Burge, et al., No. 1:04-cv-00168 (N.D. Ill.)

       9.       Attached as Exhibit D is a true and correct copy of the following Associated Press

story: Herbert G. McCann, AP News, Former Chicago police commander linked to torture dead at 70 (Sept.

19, 2018), https://apnews.com/article/677d71113f73437f962390e77be5b827.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States that the foregoing is true and correct.

DATED: January 18, 2021.                          /s/ Andrew M. Stroth
                                                 Andrew M. Stroth
                                                 Action Injury Law Group, LLC
                                                 191 North Wacker Drive, Suite 2300
                                                 Chicago, IL 60606
                                                 (844) 878 4529
                                                 astroth@actioninjurylawgroup.com




                                                    3
Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 4 of 25 PageID #:2203




Exhibit A
 Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 5 of 25 PageID #:2204




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JAMES GIBSON,                                  )
                                               )
                               Plaintiff,      )
                                               )
       vs.                                     )        Case No. 19-cv-04152
                                               )
CITY OF CHICAGO, et al,                        )        Honorable Sara L. Ellis
                                               )
                               Defendants.     )        JURY TRIAL DEMANDED

                           PLAINTIFF’S REQUEST FOR ADMISSION
                                   TO ALL DEFENDANTS

       Plaintiff James Gibson, by his undersigned attorneys, propounds the following Request

for Admission pursuant to Federal Rule of Civil Procedure 36 upon all Defendants to be

answered within thirty days after service hereof.

                                            DEFINITIONS

       1.       “Defendant” and “You/r” shall refer to any of the Defendants, as well as its

counsel and any of its present or former divisions, subsidiaries, officers, directors, affiliates,

employees, consultants, experts, investigators, representatives, agents or other Persons acting on

any of their behalf. The term the “Department” shall refer to the Chicago Police Department.

       2.       “Relate”, “relating to” or “regarding” shall mean directly or indirectly mentioning

or describing, pertaining to, being connected with, reflecting upon, or having any logical or

factual connection with a stated subject matter.

       3.      “Communications” shall refer to any form of communication, including, for

example, letters, memos, e-mails, notes, or the like.

       4.      “Person” shall refer to any individual, corporation, partnership, organization, or

any other entity.
 Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 6 of 25 PageID #:2205




       5.      “And” and “or” mean “and/or” so that the terms are given their broadest possible

meaning. In construing a request, the singular shall include the plural and the plural shall include

singular, and use of a masculine, feminine or neuter pronoun shall not exclude any of the others.

The past tense includes the present and the present tense includes the past, where the clear

meaning is not destroyed by the change.

       6.      “Complaints” shall refer to any complaint or criticism relating in any manner to a

police officer’s job performance, whether ultimately deemed (un)sustained, (un)founded, or any

other disposition. This includes, but is not limited to, all citizen complaints made to the

Department’s Office of Professional Standards, Internal Affairs Division, the Independent Police

Review Authority (“IPRA”) and/or the Civil Office of Police Accountability (“COPA”).

       7.      Unless otherwise stated, the time frame for Plaintiff’s discovery requests shall

include the period encompassing the events described in Plaintiff’s complaint, which began in

1973 and continue through to the present day. This time frame shall govern other discovery

served in this case, including any FRCP 30(b)(6) depositions.

       8.      The term “Incident” shall refer to the homicide of Lloyd Benjamin and Hunter

Wash at 1119 W. 58th Street, Chicago, Illinois on December 22, 1989.

       9.      The term "Official File" shall refer to the file containing the Official Reports as

that term was defined in Palmer v. City of Chicago, 576 F. Supp. 1067 (N.D.I11. 1983), rev'd on

other grounds, 755 F.2d 560 (7th Cir. 1985). In summary, the Official File for the Incident is the

file which is permanently maintained by the Department's Record Division.

       10.     The term "Street File" shall have the same meaning ascribed to it in Jones v. City

of Chicago. 856 F.2d 985 (7th Cir. 1988) and Palmer v. City of Chicago. 576 F. Supp. 1067

(N.D.Ill. 1983). The files have also variously been referred to as "running files"; files maintained




                                                  2
 Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 7 of 25 PageID #:2206




on "clipboards"; and/or "officer files". To be clear, the term "Street Files" refers to all of the

Documents from these files, including any detective notes, memos and Witness Statements

contained therein.

        11.    The term "Witness Statement" shall refer to information provided to a detective by

a witness, or potential witness, relating to the Incident and the resulting investigation. A witness

statement can be oral or written.

        12.    The term "Memo" shall refer to the commonly understood definition of the term

"Memo", including but not limited to Departmental "To/From Memos"; communications with

third parties; or intra-Departmental communications

        13.    The term “Consideration” refers to any advantage or benefit that is given to

someone. Consideration includes but is not limited to deals on pending cases, paying any money

whatsoever to a witness, or providing other benefits to a witness.

        14.     “Defendant Officers” shall refer to the Defendant police officers Anthony

Maslanka, William Moser, John E. Byrne, Louis Caesar, John Paladino, Henry J. Leja, Jerome

Rusnak, Victor Breska, John McCann, Phillip Collins, John O’Mara, and John Burge.

        15.    “Individual Defendants” shall refer to Defendant police officers Anthony

Maslanka, William Moser, John E. Byrne, Louis Caesar, John Paladino, Henry J. Leja, Jerome

Rusnak, Victor Breska, John McCann, Phillip Collins, John O’Mara, and John Burge.

        16.    The terms "policy" and/or "practice" shall be construed in the manner they are

used in the caselaw surrounding municipal liability under Monell v. Department of Soc. Serv. of

New York, 436 U.S. 658 (1978) and the cases that follow it. For purposes of Plaintiff’s discovery

requests, these terms shall refer to the policies and practices in place at the time period

surrounding the Sanchez homicide investigation.




                                                   3
 Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 8 of 25 PageID #:2207




           17.   The term “lineup” shall mean any photo, sketch, or live in-person lineup in which

a suspect or other person of interest is included among a group of people viewed by a witness.

                                     REQUESTS TO ADMIT

           1.    Between 1973 and 2006, officers under Jon Burge’s Command at Areas 2 and 3

subjected many suspects, particularly African Americans, to mental, physical, and psychological

torture.

RESPONSE:

           2.    From December 27, 1989 through January 2, 1990, Anthony Maslanka worked in

the Chicago Police Department’s “Area 3” under the command of Jon Burge.

RESPONSE:

           3.    From December 27, 1989 through January 2, 1990, Defendant Chicago police

officer William Moser worked in the Chicago Police Department’s “Area 3” under the command

of Jon Burge.

RESPONSE:

           4.    From December 27, 1989 through January 2, 1990, Defendant Chicago police

officer John E. Byrne worked in the Chicago Police Department’s “Area 3” under the command

of Jon Burge.

RESPONSE:

           5.    From December 27, 1989 through January 2, 1990, Defendant Chicago police

officer Louis Caesar worked in the Chicago Police Department’s “Area 3” under the command of

Jon Burge.

RESPONSE:

           6.    From December 27, 1989 through January 2, 1990, Defendant Chicago police




                                                  4
 Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 9 of 25 PageID #:2208




officer John Paladino worked in the Chicago Police Department’s “Area 3” under the command

of Jon Burge.

RESPONSE:


       7.       From December 27, 1989 through January 2, 1990, Defendant Chicago police

officer Henry J. Leja worked in the Chicago Police Department’s “Area 3” under the command

of Jon Burge.

RESPONSE:


       8.       From December 27, 1989 through January 2, 1990, Defendant Chicago police

officer Jerome Rusnak William worked in the Chicago Police Department’s “Area 3” under the

command of Jon Burge.

RESPONSE:


       9.       From December 27, 1989 through January 2, 1990, Defendant Chicago police

officer Victor Breska worked in the Chicago Police Department’s “Area 3” under the command

of Jon Burge.

RESPONSE:


       10.      From December 27, 1989 through January 2, 1990, Defendant Chicago police

officer John McCann worked in the Chicago Police Department’s “Area 3” under the command

of Jon Burge.

RESPONSE:


       11.      From December 27, 1989 through January 2, 1990, Defendant Chicago police

officer Phillip Collins worked in the Chicago Police Department’s “Area 3” under the command



                                              5
Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 10 of 25 PageID #:2209




of Jon Burge.

RESPONSE:


       12.      From December 27, 1989 through January 2, 1990, Defendant Chicago police

officer John O’Mara worked in the Chicago Police Department’s “Area 3” under the command

of Jon Burge.

RESPONSE:


 September 28, 2020
                                                  /s/ Andrew M. Stroth
                                                  Andrew M. Stroth
                                                  Action Injury Law Group, LLC
                                                  191 North Wacker Drive
                                                  Suite 2300
                                                  Chicago, IL 60606
                                                  (844) 878 4529
                                                  astroth@actioninjurylawgroup.com

                                                  ATTORNEY FOR PLAINTIFF




                                              6
Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 11 of 25 PageID #:2210




                                   PROOF OF SERVICE

            I hereby certify that true and correct copies of the foregoing were caused to be

served on September 28, 2020 upon the following individuals by email:

                                  Attorneys for Defendants

 Hale & Monico, LLC            Leinenweber Baroni &              Reiter Burns LLP
 53 West Jackson               Daffada, LLC                      311 S. Wacker Drive
 Ste 337                       120 N. LaSalle Street Ste 2000    Suite 5200
 Chicago, IL 60604             Chicago, IL 60602                 Chicago, IL 60606
 (312) 870-6905                (312 )663-3003                    312-982-0090

 Andrew Hale                   Thomas More Leinenweber           Terrence M. Burns
 ahale@ahalelaw.com            thomas@ilesq.com                  tburns@reiterburns.com

 Barrett Boudreaux             Kevin Edward Zibolski             Paul A. Michalik
 bboudreaux@ahalelaw.com       kevin@ilesq.com                   pmichalik@reiterburns.com

 Shawn W. Barnett              Michael John Schalka              Daniel M. Noland
 sbarnett@halemonico.com       mjs@ilesq.com                     dnoland@reiterburns.com

                                                                 Katherine C. Morrison
                                                                 kmorrison@reiterburns.com

                                                                 Daniel J. Burns
                                                                 dburns@reiterburns.com




                                                   /s/ Andrew M. Stroth
                                                   Andrew M. Stroth
                                                   Action Injury Law Group, LLC
                                                   191 North Wacker Drive
                                                   Suite 2300
                                                   Chicago, IL 60606
                                                   (844) 878 4529
                                                   astroth@actioninjurylawgroup.com




                                               7
Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 12 of 25 PageID #:2211




Exhibit B
Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 13 of 25 PageID #:2212




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 JAMES GIBSON,                                        )
                                                      )
                        Plaintiff,                    )
                                                      )
                v.                                    )   Case No. 19 C 4152
                                                      )
 CITY OF CHICAGO, a municipal                         )   Judge Sara L. Ellis
 corporation et al.,                                  )
                                                      )   Magistrate M. David Weisman
                        Defendants.                   )

     DEFENDANT CITY OF CHICAGO’S RESPONSE TO PLAINTIFF’S REQUEST FOR
                      ADMISSION TO ALL DEFENDANTS

       Defendant, the City of Chicago (“City”), by its attorneys, Reiter Burns LLP, for its

response to plaintiff’s request for admission to all defendants, states:

                                      REQUESTS TO ADMIT

         1.  Between 1973 and 2006, officers under Jon Burge’s Command at Areas 2 and 3
subjected many suspects, particularly African Americans, to mental, physical, and psychological
torture.

       RESPONSE: Denied.

       2.     From December 27, 1989 through January 2, 1990, Anthony Maslanka worked in
the Chicago Police Department’s “Area 3” under the command of Jon Burge.

       RESPONSE: The City admits that, from December 27, 1989 through January 2, 1990,

Jon Burge was assigned as commander of Area 3 of the Chicago Police Department and that, from

December 27, 1989 through January 2, 1990, Officer Anthony Maslanka was assigned to Area 3

of the Chicago Police Department.

        3.     From December 27, 1989 through January 2, 1990, Defendant Chicago police
officer William Moser worked in the Chicago Police Department’s “Area 3” under the command
of Jon Burge.




                                                  1
Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 14 of 25 PageID #:2213




       RESPONSE: The City admits that, from December 27, 1989 through January 2, 1990,

Jon Burge was assigned as commander of Area 3 of the Chicago Police Department and that, from

December 27, 1989 through January 2, 1990, Officer William Moser was assigned to Area 3 of

the Chicago Police Department.

        4.     From December 27, 1989 through January 2, 1990, Defendant Chicago police
officer John E. Byrne worked in the Chicago Police Department’s “Area 3” under the command
of Jon Burge.

       RESPONSE: The City admits that, from December 27, 1989 through January 2, 1990,

Jon Burge was assigned as commander of Area 3 of the Chicago Police Department and that, from

December 27, 1989 through January 2, 1990, Officer John Byrne was assigned to Area 3 of the

Chicago Police Department.

        5.     From December 27, 1989 through January 2, 1990, Defendant Chicago police
officer Louis Caesar worked in the Chicago Police Department’s “Area 3” under the command of
Jon Burge.

       RESPONSE: The City admits that, from December 27, 1989 through January 2, 1990,

Jon Burge was assigned as commander of Area 3 of the Chicago Police Department and that, from

December 27, 1989 through January 2, 1990, Officer Louis Caesar was assigned to Area 3 of the

Chicago Police Department.

        6.     From December 27, 1989 through January 2, 1990, Defendant Chicago police
officer John Paladino worked in the Chicago Police Department’s “Area 3” under the command
of Jon Burge.

       RESPONSE: The City admits that, from December 27, 1989 through January 2, 1990,

Jon Burge was assigned as commander of Area 3 of the Chicago Police Department and that, from

December 27, 1989 through January 2, 1990, Officer John Paladino was assigned to Area 3 of the

Chicago Police Department.

        7.     From December 27, 1989 through January 2, 1990, Defendant Chicago police
officer Henry J. Leja worked in the Chicago Police Department’s “Area 3” under the command of
Jon Burge.


                                              2
Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 15 of 25 PageID #:2214




       RESPONSE: The City admits that, from December 27, 1989 through January 2, 1990,

Jon Burge was assigned as commander of Area 3 of the Chicago Police Department and that, from

December 27, 1989 through January 2, 1990, Officer Henry Leja was assigned to Area 3 of the

Chicago Police Department.

        8.     From December 27, 1989 through January 2, 1990, Defendant Chicago police
officer Jerome Rusnak William [sic] worked in the Chicago Police Department’s “Area 3” under
the command of Jon Burge.

       RESPONSE: The City admits that, from December 27, 1989 through January 2, 1990,

Jon Burge was assigned as commander of Area 3 of the Chicago Police Department and that, from

December 27, 1989 through January 2, 1990, Officer Jerome Rusnak was assigned to Area 3 of

the Chicago Police Department.

        9.      From December 27, 1989 through January 2, 1990, Defendant Chicago police
officer Victor Breska worked in the Chicago Police Department’s “Area 3” under the command of
Jon Burge.

       RESPONSE: The City admits that, from December 27, 1989 through January 2, 1990,

Jon Burge was assigned as commander of Area 3 of the Chicago Police Department and that, from

December 27, 1989 through January 2, 1990, Officer Victor Breska was assigned to Area 3 of the

Chicago Police Department.

        10.   From December 27, 1989 through January 2, 1990, Defendant Chicago police
officer John McCann worked in the Chicago Police Department’s “Area 3” under the command of
Jon Burge.

       RESPONSE: The City admits that, from December 27, 1989 through January 2, 1990,

Jon Burge was assigned as commander of Area 3 of the Chicago Police Department and that, from

December 27, 1989 through January 2, 1990, Officer John McCann was assigned to Area 3 of the

Chicago Police Department.

        11.     From December 27, 1989 through January 2, 1990, Defendant Chicago police
officer Phillip Collins worked in the Chicago Police Department’s “Area 3” under the command
of Jon Burge.


                                              3
Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 16 of 25 PageID #:2215




       RESPONSE: The City admits that, from December 27, 1989 through January 2, 1990,

Jon Burge was assigned as commander of Area 3 of the Chicago Police Department and that, from

December 27, 1989 through January 2, 1990, Officer Phillip Collins was assigned to Area 3 of the

Chicago Police Department.

        12.    From December 27, 1989 through January 2, 1990, Defendant Chicago police
officer John O’Mara worked in the Chicago Police Department’s “Area 3” under the command of
Jon Burge.

       RESPONSE: The City admits that, from December 27, 1989 through January 2, 1990,

Jon Burge was assigned as commander of Area 3 of the Chicago Police Department and that, from

December 27, 1989 through January 2, 1990, Officer John O’Mara was assigned to Area 3 of the

Chicago Police Department.

                                                Respectfully submitted,

                                                MARK A. FLESSNER

                                                Corporation Counsel of the City of Chicago

                                            By: /s/ Paul A. Michalik
                                               Special Assistant Corporation Counsel
Terrence M. Burns
Paul A. Michalik
Daniel M. Noland
Reiter Burns LLP
311 S. Wacker Dr., Suite 5200
Chicago, IL 60606

Attorneys for Defendant City of Chicago




                                               4
Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 17 of 25 PageID #:2216




                                CERTIFICATE OF SERVICE

        I hereby certify that I caused a copy of the foregoing Defendant City of Chicago’s
Responses to Plaintiff’s Request for Admission to All Defendants to be upon the following counsel
of record via email on October 27, 2020.

 Attorneys for Plaintiff                           Attorney for Defendants Victor Breska,
 Andrew M. Stroth                                  Henry J. Leja, William Moser, John
 Carlton Odim                                      Paladino, Jerome Rusnak, Louis Caesar,
 Action Injury Law Group LLC                       Susan McCann as Special Representative
 191 N. Wacker Dr.                                 for Estate of John McCann, Phillip Collins
 Suite 2300                                        as Special Representative for Estate of
 Chicago, IL 60606                                 Phillip Collins, and Pam O’Mara as Special
 (312) 771-2444                                    Representative for Estate of John O’Mara
 astroth@actioninjurylawgroup.com                  Andrew M. Hale
 carlton@actioninjurylawgroup.com                  Shawn W. Barnett
                                                   Barrett Boudreaux
                                                   Hale & Monico LLC
                                                   53 W. Jackson Blvd., Suite 330
                                                   Chicago, IL 60604
                                                   ahale@halemonico.com
                                                   sbarnett@halemonico.com
                                                   bboudreaux@halemonico.com

 Attorney for Defendants John Byrne,
 Anthony Maslanka, John Paladino and
 Estate of Jon Burge
 Thomas M. Leinenweber
 James V. Daffada
 Michael J. Schalka
 Kevin E. Zibolski
 Megan K. McGrath
 Leinenweber Baroni & Daffada, LLC
 120 N. LaSalle St., Suite 2000
 Chicago, IL 60602
 thomas@ilesq.com
 jim@ilesq.com
 mjs@ilesq.com
 kevin@ilesq.com
 mkm@ilesq.com



                                                   s/ Paul A. Michalik




                                               5
Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 18 of 25 PageID #:2217




Exhibit C
Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 19 of 25 PageID #:2218




                                        ACTION
                                                 0    INJURY
                                             LAW    GROUP


CONFIDENTIAL


December 9, 2020


Paul A. Michalik
Terrence M. Burns
Daniel M. Noland
Special Assistant Corporation Counsel
to the City of Chicago
Reiter Burns LLP
311 S. Wacker Dr., Suite 5200
Chicago, IL 60606

Dear Counsel,

        I am writing regarding James Gibson v. City of Chicago et al., No. 19 Civ. 4152 (N.D. Ill.). As
you are aware, this is a federal civil rights action filed by Mr. James Gibson, who was tortured in
1989 by Chicago police officers under Jon Burge’s command into confessing to a murder that he
did not commit. Mr. Gibson tragically spent 29 years and 4 months in prison before his release in
April of 2019 when his prior conviction was vacated. In this action, Mr. Gibson seeks to hold
accountable the City of Chicago and the officers who tortured him for the barbaric,
unconstitutional practices the City and Burge routinely unleashed on the African-American
community.

         I am writing specifically to raise the concern that City of Chicago’s response to Gibson’s
First Request for Admission (“Request” or “Request No. 1”) does not comply with Rule 36. We
therefore request that the City amend its response to Request No. 1 within 14 days to avoid
motion practice. If the City does not intend to amend its response within that timeframe, we
should schedule a call to meet and confer over this dispute. We also ask the City to identify the
factual basis for denying the Request in its entirety. We will reach out to you to meet and confer
at a later date about our concerns with the City’s remaining responses to the First Set of Requests
for Admissions and the City’s other discovery responses.

         Request No. 1 asks the City to admit that “[b]etween 1973 and 2006, officers under Jon
Burge’s Command at Areas 2 and 3 subjected many suspects, particularly African Americans, to
mental, physical, and psychological torture.” The City denied this Request for Admission without
qualification or explanation.

      As you and the City know, there is a mountain of evidence that African-American men
were mentally, physically, and psychologically tortured by officers under Jon Burge’s Command
   Action Injury Law Group, LLC
T 844.878.4LAW (4529)
   191 North Wacker Drive, Suite 2300
C 312.771.2444
   Chicago, IL 60606
F 312.641.6866
                                        www.actioninjurylawgroup.com
Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 20 of 25 PageID #:2219




                                        ACTION
                                                 0    INJURY
                                             LAW    GROUP


in Areas 2 and 3 between 1973 and 2006.

        That evidence includes an ordinance in which “the City of Chicago acknowledge[d] that
former Chicago Police Commander Jon Burge and detectives under his command systematically
engaged in acts of torture, physical abuse and coercion of African American men and women at
Area 2 and 3 Police Headquarters from 1972 through 1991”; that the “torture . . . included
electrically shocking individuals on their genitals, lips and ears,” “suffocating individuals with
plastic bags,” “mock execution[s] with guns,” “physical beatings with telephone books and
rubber hoses,” and “and other forms of physical and psychological abuse”; and that “the City of
Chicago must officially acknowledge the torture that occurred in the City” under Burge’s
command. City of Chicago Ordinance, Reparations for the Chicago Police Torture Survivors
(May 6, 2015).

        In addition, a report by investigators for the Chicago Police Department’s Office of
Professional Standards made the same finding—that abuse of suspects in Area 2 “did occur” and
“was systematic,” including “beating[s],” “psychological techniques and planned torture.”
Sanders-Goldston Special Project Conclusion Reports at 6 (The Burge Investigation) (Nov. 2,
1990). This report analyzed a 10-year period that included the year in which Mr. Gibson was
tortured into making a false confession.

        The same egregious facts about torture of suspects in Areas 2 and 3 have been routinely
recognized by federal and state courts in Illinois. See First Am. Compl. ¶ 97 (collecting cases). As
Judge Shadur explained in 1999, “[i]t is now common knowledge that in the early to mid–1980s
Chicago Police Commander Jon Burge and many officers working under him regularly engaged
in the physical abuse and torture of prisoners to extract confessions.” U.S. ex rel. Maxwell v.
Gilmore, 37 F. Supp. 2d 1078, 1094 (N.D. Ill. 1999) (collecting cases).

       Because of this evidence of which the City and its attorneys have actual knowledge, it is
not possible for the City or its counsel to deny the entirety of Mr. Gibson’s First Request for
Admission. To do so ignores your obligation to respond to a request for admission in good faith
and accurately, under Rule 36 and Rule 11 of the Federal Rules of Civil Procedure.

         Rule 36 provides that:

         A denial must fairly respond to the substance of the matter; and when good faith
         requires that a party qualify an answer or deny only a part of a matter, the answer
         must specify the part admitted and qualify or deny the rest. The answering party
         may assert lack of knowledge or information as a reason for failing to admit or
         deny only if the party states that it has made reasonable inquiry and that the
         information it knows or can readily obtain is insufficient to enable it to admit or
         deny.


   Action Injury Law Group, LLC
T 844.878.4LAW (4529)
   191 North Wacker Drive, Suite 2300
C 312.771.2444
   Chicago, IL 60606
F 312.641.6866
                                        www.actioninjurylawgroup.com
Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 21 of 25 PageID #:2220




                                         ACTION
                                                   0    INJURY
                                               LAW    GROUP


Fed. R. Civ. P. 36(a)(4).

        Here, the City cannot deny Request No. 1 in good faith without qualification or further
explanation. If the City does not withdraw its denial in its entirety, at the very least, the rule
requires that the City “‘specify’” what part of the request can be admitted and otherwise qualify
or deny the rest of the request. See Holthaus v. United Abrasives, Inc., No. 07 Civ. 136, 2007 WL
4198270, at *1 (S.D. Ill. Nov. 26, 2007) (quoting Fed. R. Civ. P. 36(a)(4)); Advantage Industial Sys.,
LLC v. Aleris Rolled Prod., Inc., No. 18 Civ. 00113, 2020 WL 4432415, at *16 (W.D. Ky. July 31,
2020) (stating that “[t]he word ‘specify,’ as used here, envisions that a simple one-word denial
may not be sufficient, and the responding party will provide detail where needed,” and citing In
re Wahlie, No. 10-31680, 2011 WL 6757006, at *3 (Bankr. N.D. Ohio Dec. 23, 2011) (noting that
“if a party fails to provide a detailed response under Rule 36 where one is needed, sanctions may
be imposed.”)). Moreover, where, as here, a party’s own statements are inconsistent with an
“unequivocal” denial of a request for admission, the party must qualify its denial to provide
sufficient clarity on the subject. Holthaus, 2007 WL 4198270, at *1.

        As you should be aware, an unqualified denial of a request for admission that is later
proven to be true is sanctionable by the Court. See Loudermilk v. Best Pallet Co., LLC, No. 08 Civ.
06869, 2009 WL 3272429, at *2 (N.D. Ill. Oct. 8, 2009) (“If a party fails to admit an assertion set
forth in a Rule 36 request to admit and the requesting party later proves a document to be
genuine or an assertion to be true, the responding party may have to pay the reasonable
expenses, including attorney’s fees, incurred in making that proof.”).1

        In light of the overwhelming evidence that Black men were tortured in Areas 2 and 3
over the course of decades (including the time period in which Mr. Gibson was tortured), we fail
to understand how the City of Chicago and its attorneys can unequivocally deny Request No. 1.
Accordingly, we request that the City amend its response to Request No. 1 to comply with Rule
36’s requirement that the City respond in good faith by admitting or qualifying its denial. Please
do so within 14 days. If the City does not do so, my client reserves his right to seek sanctions at
the appropriate time for what can only be regarded as a knowing false unqualified denial.



1
  Accord Vukadinovich v. Griffith Pub. Sch. No. 02 Civ. 472, 2008 WL 5141388, at *5 (N.D. Ind. Dec. 5, 2008)
(“If the requesting party can prove the inconsistencies” between the evidence and a response to a request
for admission “during summary judgment or at trial, he may move the court for reasonable expenses.”);
Owners Ins. Co. v. Charleston Glass & Mirror, Inc., No. 14 Civ. 3649, 2015 WL 13817635, at *1 (D.S.C. July
20, 2015) (stating that although an unqualified denial may “comply with Rule 36,” a court may impose
sanctions for “false answers” to requests for admission); Firestone v. Hawker Beechcraft Int’l Serv. Co., No. 10
Civ. 1404, 2012 WL 899270, at *10 (D. Kan. Mar. 16, 2012) (collecting cases providing that “the party
improperly refusing the admission [must] pay the expenses of the other side in making the necessary proof
at trial”); A&V Fishing, Inc. v. Home Ins. Co., 145 F.R.D. 285, 287–88 (D. Mass. 1993) (“a false answer to a
request for admission may result in the imposition of sanctions under either or both Rules 11 and 37(c)”).
   Action Injury Law Group, LLC
T 844.878.4LAW (4529)
   191 North Wacker Drive, Suite 2300
C 312.771.2444
   Chicago, IL 60606
F 312.641.6866
                                          www.actioninjurylawgroup.com
Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 22 of 25 PageID #:2221




                                        ACTION
                                                 0    INJURY
                                             LAW     GROUP


        Moreover, the City had the choice to respond to the Request by stating that it lacks the
information necessary to respond, but failed to do so. Thus, to continue its denial, the City must
possess actual knowledge, based on a reasonable inquiry, that the entirety of the Request is false.
Accordingly, we ask that you identify what information or documents support the City’s
unqualified denial of the Request. We trust that if such information or documents exist that you
will have no problem providing them to us. Indeed, for decades the City has collected and
possessed information about the torture that Burge and the “Midnight Crew” used to elicit false
confessions from African-American individuals like Mr. Gibson. Please provide this information
within 14 days.

       If you would like to discuss this issue, please feel free to call or email me directly at (312)
735 4045 or astroth@actioninjurylawgroup.com.


                                                Sincerely,


                                                   /s/ Andrew M. Stroth




   Action Injury Law Group, LLC
T 844.878.4LAW (4529)
   191 North Wacker Drive, Suite 2300
C 312.771.2444
   Chicago, IL 60606
F 312.641.6866
                                        www.actioninjurylawgroup.com
Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 23 of 25 PageID #:2222




Exhibit D
     Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 24 of 25 PageID #:2223


Former Chicago police commander linked to torture dead at 70




                                             9/19/18 AP Nat’l News 22:48:29

                                                   AP National News
                                                  Copyright (c) 2018 AP

                                                    September 19, 2018


                     Former Chicago police commander linked to torture dead at 70
                                        HERBERT G. McCANN, Associated Press

CHICAGO

CHICAGO (AP) — Former Chicago police Cmdr. Jon Burge, who was accused of torturing suspects in his South Side police
district but was never prosecuted for the alleged crimes, has died, a Florida funeral home confirmed Wednesday. He was 70.

Burge led a “midnight crew” of rogue detectives accused of torturing more than 100 suspects, mostly black men, from 1972
to 1991, in order to secure confessions. His alleged victims were shocked with cattle prods, smothered with typewriter covers
and had guns shoved in their mouths.

Burge was fired in 1993 and sentenced to prison in 2011 for lying in a civil case about his actions. It was too late to charge
him criminally on the torture charges.

Sarah Zipperer of Zipperer’s Funeral Home in Ruskin, Florida, on Wednesday would confirm only that the business was
handling his remains. She refused to give the cause or date of his death, citing the wishes of his family.

In 2015, the city of Chicago agreed to pay $5.5 million in reparations to 57 Burge victims. G. Flint Taylor, a civil rights
attorney and lawyer for some of the men, estimates the price tag for all Burge-related cases is about $132 million.

The allegations against Burge and his men even helped shape Illinois’ debate over the death penalty. Then-Gov. George Ryan
released four condemned men from death row in 2003 after Ryan said Burge extracted confessions from them using torture.
The allegations of torture and coerced confessions eventually led to a moratorium on executions in Illinois. The state
officially abolished the death penalty in 2011.

Word of Burge’s death came amid the murder trial of a white Chicago police officer in the fatal shooting of black teenager
Laquan McDonald. Officer Jason Van Dyke is accused of shooting McDonald 16 times as he walked away from police. It is
considered one of the biggest trials in recent Chicago history.

The possibility of such a trial would have seemed remote during Burge’s time on the force.

”With the passing of Jon Burge, we must reflect on the dark legacy that he embodied,” said Lori Lightfoot, a former federal
prosecutor who once led a civilian body that oversees disciplinary cases involving officers and a candidate for Chicago
mayor. “So many lives shattered, and a horrible stain on the legitimacy of policing that resonates today.”

Craig Futterman, a University of Chicago law professor, said Burge’s actions were despicable, but pointed to broader
systemic issues within the Chicago Police Department for allowing the alleged torture to continue for so long.

               © 2021 Thomson Reuters. No claim to original U.S. Government Works.                                         1
     Case: 1:19-cv-04152 Document #: 151-1 Filed: 01/18/21 Page 25 of 25 PageID #:2224


Former Chicago police commander linked to torture dead at 70




”He could not have engaged in more than two decades of torture of black folks without a system that protected torturers and
was complicit in ensuring that officers like Burge could torture black folks with impunity,” Futterman said.

That system “is a primary reason why there is such a deep distrust between the black community and police and why police
continue to struggle to solve violent crime, something they can’t do without the trust (of the community),” he added.

Dean Angelo, former head of the city’s police union, insisted that Burge “put a lot of bad guys in prison.”

”People picked a career apart that was considered for a long time to be an honorable career and a very effective career. I
don’t know that Jon Burge got a fair shake based on the years and years of service that he gave the city,” Angelo told
reporters during a break at the Van Dyke trial.

At Burge’s 2010 federal trial, Burge’s lawyers called the accusers thugs and liars who were maligning an honorable man who
had served in the U.S. military in Korea and Vietnam and returned with a Bronze Star. Burge took the stand and broke his
long silence, repeatedly denying he had tortured anyone. A jury disagreed and found Burge guilty of perjury.

At his 2012 sentencing, one alleged victim said Burge was so cruel that he laughed while he tortured him. Burge told the
judge that “while I try to keep a proud face, in reality, I am a broken man.”

Burge said he was “deeply sorry” for the disrepute his case had brought on the Chicago Police Department. He offered no
apologies for his actions.

U.S. District Judge Joan Lefkow cited Burge’s “unwillingness to acknowledge the truth in the face of all the evidence” and
sentenced him to 4 1/2 years in prison.


---- Index References ----


News Subject: (Crime (1CR87); Criminal Law (1CR79); Death Penalty (1DE04); Human Rights (1HU19); Legal (1LE33);
Police (1PO98); Social Issues (1SO05); Torture (1TO68))


Region: (Americas (1AM92); Florida (1FL79); Illinois (1IL01); North America (1NO39); U.S. Midwest Region (1MI19);
U.S. Southeast Region (1SO88); USA (1US73))

Language: EN

Other Indexing: (Dean Angelo; Joan Lefkow; Jon Burge; Laquan McDonald; Jason Van Dyke; George Ryan; G. Flint Taylor;
Lori Lightfoot; Craig Futterman; Sarah Zipperer)

Word Count: 722
End of Document                                                    © 2021 Thomson Reuters. No claim to original U.S. Government Works.




                  © 2021 Thomson Reuters. No claim to original U.S. Government Works.                                               2
